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                                          U.S. Department of Justice
[Type text]
                                                    United States Attorney
                                                    Southern District of New York
                                                    The Silvio J. Mollo Building
                                                    One Saint Andrew’s Plaza
                                                    New York, New York 10007



                                                    June 14, 2018

BY ECF

The Honorable Ronnie Abrams
United States District Judge, Southern District of New York
Thurgood Marshall United States Courthouse
40 Foley Square
New York, NY 10007

              Re:     United States v. Galanis, et al., S3 16 Cr. 371 (RA)

Dear Judge Abrams:

         The Government respectfully submits this letter to object to exhibits identified by
defendants Archer and Cooney on June 13, 2018 containing excerpts of text message exchanges
between Michelle Morton, Jason Galanis, and others. The vast majority of these text messages
are irrelevant and, as offered by the defense, contain inadmissible hearsay for which no obvious
exception applies.

       A. Cooney’s DX 3800 and 3801

        DX 3800 is a series of August 15, 2014 communications between Morton and Jason
Galanis in which Morton asks to be introduced to Cooney when she visits Los Angeles. Galanis
writes back stating that Cooney was traveling to Montana to visit with his mother who was
recently diagnosed with brain cancer. These text messages are irrelevant and should not be
admitted. These August 15, 2014 communications also contain irrelevant flirtation and banter
between Jason Galanis and Morton, which should also be excluded.

        DX 3801 contains a series of text messages between Jason Galanis and Michelle Morton
on March 5, 2015 in which Galanis describes how Cooney has connections to various individuals
in the music industry. Some of these communications overlap with portions of GX3004A, which
the Government, of course, has no objection to admitting, but the remainder contains hearsay and
irrelevant statements by Jason Galanis and Michelle Morton.

       B. Archer’s DX 3004, 3004B and 4817

        DX 3004 contains numerous text messages between Michelle Morton and others that are
irrelevant, confusing, and prejudicial, and which contain inadmissible hearsay. For example, DX
3004 contains text messages between Jerry Thunelius, an employee of Atlantic Asset
Management, regarding their meeting on March 25, 2015, during which Morton and Thunelius
coordinate their meeting, discuss the Hughes purchase of Atlantic, and Morton describes how
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certain Atlantic employees are going to have to work for her and she is going to write a book
called “Two years a slave[.]” Morton then reports to Jason Galanis a summary of her meeting
with Thunelius. These statements are all hearsay and should be precluded. The Government also
objects to DX 4817, a series of text messages between Morton and Thunelius which contain some
of the same text messages as in DX 3004. In particular, Archer cannot object to GX 955, a March
25, 2015 email from Morton to her business partner regarding Morton’s meeting with “the
chairman of board of wealth assurance and two board members” while at the same time seeking
to introduce text messages relating to Morton’s meetings with others that same day, including
these text messages with Thunelius.

         DX 3004B comprises text messages between Jason Galanis and Michelle Morton from
approximately July 24, 2014 through September 3, 2015. The text messages generally appear to
reflect: (1) sexual innuendo or banter between Jason Galanis and Michelle Morton; (2)
discussions regarding Jason Galanis’s meetings, calls or communications with various
individuals, including Archer, Jason Sugarman, Devin Wicker, Bevan Cooney, Andrew Godfrey,
and others; and (3) Morton’s meetings with Jason Sugarman and others, including text messages
about what appears to be a marketing presentation in September 2014. As the proponent of this
evidence, Archer should identify an evidentiary basis for each of these text messages, which are
irrelevant and/or contain inadmissible hearsay.

                                                   Respectfully submitted,

                                                   ROBERT KHUZAMI
                                                   Attorney for the United States, Acting Under
                                                   Authority Conferred by 28 U.S.C. § 515

                                               By: /s/                           _____
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cc:    Counsel of record (via ECF)
